









Dismissed and Memorandum Opinion filed October 2, 2003









Dismissed and Memorandum Opinion filed October 2,
2003.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-03-01006-CR

____________

&nbsp;

GREIG SANDERSON LLEWELLYN, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 263rd District Court

Harris County, Texas

Trial Court Cause No. 947,411

&nbsp;



&nbsp;

M
E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant entered a guilty plea to aggravated sexual assault
of a child.&nbsp; In accordance with the terms
of a plea bargain agreement with the State, on August 7, 2003, the trial court
sentenced appellant to confinement for ten years in the Institutional Division
of the Texas Department of Criminal Justice.&nbsp;
Appellant filed a pro se notice of appeal.&nbsp; Because appellant has no right to appeal, we
dismiss.&nbsp; 








The trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp; The trial court=s certification is included in the
record on appeal.&nbsp; See Tex. R. App. P. 25.2(d).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed October 2, 2003.

Panel consists of Chief Justice
Brister and Justices Anderson and Seymore..

Do Not Publish C Tex. R. App. P. 47.2(b).

&nbsp;





